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                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
                                                                 Case No.        2:13-CR-6070-SAB-1
 UNITED STATES OF AMERICA,
                                                                 CRIMINAL MINUTES
                                       Plaintiff,                DATE:           MARCH 26, 2024
        -vs-

 KENNETH RICHARD ROWELL,                                         LOCATION: YAKIMA, WA

                                       Defendant.                REVOCATION OF SUPERVISED
                                                                 RELEASE HEARING



                                      CHIEF JUDGE STANLEY A.
                                              BASTIAN
          Michelle Fox                      02                                         Marilynn McMartin
      Courtroom Deputy                 Law Clerk               Interpreter               Court Reporter

                    Todd Swensen                                          Juliana Van Wingerden

                Government Counsel                                           Defense Counsel
 United States Probation Officer: Arturo Santana

       [X ] Open Court                        [ ] Chambers                         [ ] Telecon/Video
Defendant present and out of custody of the US Marshal.

Court asks how are the parties proceeding? 7 violations.

J. Van Wingerden indicates defendant will admit the violations and request the sentence be held in abeyance for
90 days.

Court verifies defendant’s correct name.
       Defendant confirms his name is correct.

Court asks defendant if he has reviewed all the violations. Court asks defendant if he agrees and stipulates that
the Court can review and rely on the evidence in the petition in deciding whether he is in violation of supervised
release.
   Defendant understands and indicates yes.


[ X ] ORDER FORTHCOMING

 CONVENED: 9:00 A.M.            ADJOURNED: 9:13 A.M.           TIME: 13 MIN.           CALENDARED         [ X ]
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USA -vs- Rowell                                                                            March 26, 2024
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Revocation of Supervised Release Hearing


Court outlines violation 1.
  Defendant admits violation 1.

Court outlines violation 2.
  Defendant admits violation 2.

Court outlines violation 3.
  Defendant admits violation 3.

Court outlines violation 4.
  Defendant admits violation 4.

Court outlines violation 5.
  Defendant admits violation 5.
Court outlines violation 6.
  Defendant admits violation 6.

Court outlines violation 7.
  Defendant admits violation 7.


Court finds that based on the evidence in the petition and the defendant’s admissions, the Court finds that
defendant is in violation of supervised release and find violations 1 through 7 have been committed.

T. Swensen presents argument and outlines recommendations. 90-day abeyance.

J. Van Wingerden presents argument and outlines recommendations.

Court speaks to defendant.

Defendant speaks to the Court.

Court sentences defendant. Remain on supervised release. No sanction imposed.
